Case 1:17-cv-23272-RNS Document 14 Entered on FLSD Docket 11/29/2017 Page 1 of 5




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                              CA SE NO .:    17-cV-23272-11.
                                                           N5


   Sharon W einstock,etal,.


         Plaintiff,



   Islam ic Republic ofIran,etal.,


         Defendantts)

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   ln accordancewith FederalRulesofCivilProcedureRule4,and/or28 U.S.C.j 1608(a)(3)or
   (b)(3)(B),theClerkcertifiesthatonthis 28th,dayof November ,2017,(summonsand
   complalnt )havebeenmailedviaInternationalServiceto:

           Defendantts): IslamicRepublicofIran:eta1.y

           Country:Tehran,Iran
           ArticleN um ber:77-7714 -8621


   D ON E atthe FederalCourthouse Square,M iam i,Florida,this 28th,day of   N ovem bcr   ,
   20 17 .

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                                                  CourtAdm inist r.Clerk o     ourt

                                                        By:
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   c:U .S.D istrictJudge
     Allcounselofrecord
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                                Sanctions W arranty and Indem nity Letter
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  (GustomerName/companyName...11       %Tl
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  providing this Sanctions and W arranty Indem nRy Lettdtpursuantto the UN Sanctions.
  1.Gustomerwprrantsthatneitherthe receipsnorthe dàliveryofth: Shipmentwillexpose DHL
         ortheirem ployees,servants,agents,insurers or reinsurers to any sanction,prohibition or
         penalty (orany riskofsanctlon,prohibition orpenalty)whatsoeverimposed byanystate,
         country,internationalgovernmentalorganization or other relevant authority (collecjvely
         ''
          Sanctions'')byreason ofthe contentofthe Shipment,anyinsurance ofthe Shipmenttaken
         outby the Custom erorany otherperson wi  th an interestin the Shipm ent,the destlnation of
         the Shipm enl,the intended consignee ofthe Shipmentorthe purchaserorend userofthe
         contentOfthe Shipm ent,provided thatstlch warrantyshallnotextend to any issues ofnon-
         compliancewhich resul
                             tfrom anyact,decision oromissionbyDHL(oritssub-contractorsor
         any company engaged by DHL to transportthe Shipment),otherthan where following the
         Gustom er's instructions.                                                            '

  2. Gustomerwarrants in particular,that:
         (a) Shipmentsshallnotinclude anygoodswhich appearon anyapplicable listofprohi
                                                                                     bited
             goods as shallbe determined from tim e to time by the United Nations;

         (b)deliveryofShipmentstotheintendedconsigneewillnot,inandofi
                                                                    tself,contraveneany
             ofthe prohibitions setforth from time to tim e bythe United Nations;

              and
         (c)delivery ofShipments to the intended consignee wlllnot,in and ofitself,resultin any
             funds or econom lc resources being m ade available directly or indirectly to or for the
             benefitofany person entity orbody which is Ii sted ordesignated in any Sanctions as set
             forth from tim e to time by the United Nati
                                                       ons.                         '
          (d) Provided (in each case)thatsuch warranty shallnotextend to any issues ofnon-
             compliance which resul l from any act,decision or omission by DHL (pr its sub-
             contractors orany company engaged by DHL to transpod the Shipment),otherthan
             where following the Custom er's instructions.
   3. Customer agrees to provide DHL im mediately on requestwith fullinform ation aboutthe
     '
      nature ofthe Shipm entand its intended use,as wellas the identities ofallparties ofwhich
      Custom eris aware and/orwhich the Gustom ercan obtain from its directcountem artywhich
      have any Iegal,financialorcom mercialinterestin the Shipment.
    4. DHL is entitled to inspectthe Shipm entand,in partlcular,is entitled to access any data or
       information contained in any electronio storage m edqum and DHL shallnotbe responàible
       forany delay ordamage caused as a resul    tpfthatinspection provided thatDHL shalltake
       reasonable care in inspecting the Shipment.W herq data orinform ation is protected by a
        password,details ofthatpassword shallbe provided to DHL by Customeron request.
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 5. Gustomershallindemnify DHL againstallIoss,damage,fines and expenses whatsoever,
    inoludingbutnotIimitedtoexqosureofDHL,itsemployees,se-ants,agents,insurerso?re-
    insurers to any Sanctions arislng orresul
                                            ting from any non-declaration orillegal,inaccurate '
    and/orinadequate declaration in respectofthe Shipmentbythe Shipperorfrom any other
    cause in connection with the Shipm entforwhich the Gustom eris responsible.

 6. If i
       t appears,in the reasonable judgmentof DHL,thatthe Shipment (orany activities
    required in respectoftheShipmentbyDHL oranyotherperson)mayexpose DHLortheir
    employees,servants,ag/nts,in:urers orreinsurers to any Sanctions orrisk ofSanctions,
    then:
    (a) DHL may refuse to carry 1he Shipmentoralternativel
                                                         y DHL may wi thoutnotice to
        Shipper (butas his agent only)take any measurels) and/or incur any additional
         expense to carry orto continue the Shipmentthereof,and/orabandon the Shipment
         and/orstore the Shipmentashore orafloat,undercoverorin the open,atany place,
         which abandonmentQrstorage shallbe deemed to constitutedue performance by DHL
         ofal1ofitsobligationsinrespectofthatShipment;

    (b) dustomershallindemni
                           fyDHLagainstanyadditionaîexpensesoincurred;
    (c) Gustomershallindemnify DHL againstany and aIlclaims whatsoeverbroughtby any
         third party in respectofthe Shipm ent;
    (d) DHL may,without notice to Customer,provide any state,country, international
         governmentalorganization orotherrelevantauthoritywithfullinformation aboutthe
         Shipm ent,includlng the identities of all parties which have any Iegal,financialor
         commercialinterestin the Shipment.                             '
     (e) providedthatparagraphs (b)and (c)shallnotapplylnthe case ofanyissuesofnon-
         compliance which resultfrom any act,decision ofomission by DHL (or its sub-
         contractors orany com pany engaged by DHL to transportthe Shipment),otherthan
            where following the Custcm er's instructions.



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